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                                                       U.S. Department of Justice

                                                       Matthew M. Graves
                                                       United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                    December 21, 2021

Via Email
Michael E. Lawlor
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Counsel for Zachary Jordan Alam

      Re:       United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

      Enclosed as additional discovery in this case, via filesharing, are the following materials:
         1. .heic photos from iCloud search warrant production, converted to .jpeg (87
             files)
         2. Additional FBI serials:
                 a. Serial 20, redacted
                 b. Serial 21, redacted
                 c. Serial 24, redacted
                 d. Serial 24 attachment, redacted
                 e. Serial 50
                 f. Serial 50 attachment, redacted
                 g. Serial 52, redacted
                 h. Serial 53 attachment
                 i. Serial 90, redacted
         3. MARKED SENSITIVE: Officer interviews from Statuary Hall Connector
             (7 files)
                 a. Transcript, audio, and 2 exhibits for Officer NE
                 b. 302s for Officers VB, SV, and MM
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           4. MARKED SENSITIVE: D-17 excerpt of FBI interview on 1/11 about
              defendant
           5. D-14 open-source interview about defendant on 1/8 (zipped)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.

        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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